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                INTHE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

t'MTED STATES       OFAMERICA              )
                                           )
                   Plaintiff,              )
                                           )
                                           )     Case No. 18- 01338
                                           )
APPROXIMATELY        $293,338.00           )
TNUMTED STATES            CURRENCy,
                                           I)
                  Defendant.               )


                COMPLI\INT FOR FORFEITURE IN REM

      Plaintiff, United States of America, by and through its attorneys,

Stephen R. McAllister, United States Attorney for the District of Kansas, and

Sean M.A. Hatfield, Special Assistant United States Attorney, brings this

complaint and alleges as follows in accordance with Supplemental Rule G(2)

of the Federal Rules of Civil Procedure:

                           NATURE OF THEACTION

      1.    This is an action to forfeit and condemn to the use and benefit of

the United States of America the following property: Approximately

$293,338.00 in United States currency (hereinafter "defendant property''), for

violations of 21 U.S.C.   $ 841.
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                         THE DEFENDANT IN REM

      2.    The defendant property consists of approximately $293,338.00 in

United States currency that was seized on July 12, 2018 by the Kansas

Highway Patrol during a routine traffic stop of a vehicle driven by Juan

Carlos Herrera on the Southbound Kansas Turnpi-ke at milepost 182 in

Wabaunsee County, in the District of Kansas. The currency is currently        in

the custody of the United States Marshal Sewice.

                       JURISDICTION AND VENUE

      3.    Plaintiff brings this action in rem in its own right to forfeit and

condemn the defendant property. This Court has jurisdiction over an action

commenced by the United States under 28 U.S.C. $ 1345, and over an action

for forfeiture under 28 U.S.C. S 1355.

      4.    This Court has in rem jurisdiction over the defendant property

under 28 U.S.C. $ 1355(b). Upon filing this complaint, the plaintiff requests

that the Court issue an anest warrant in rem pursuant to Supplemental

Rule G(3Xb), which the plaintiff will execute upon the property pursuant to

28 U.S.C. S 1355(d) and Supplemental Rule G(3)(c).

      5.    Venue is proper in this district pursuant to 28 U.S.C.

$ 1355(b)(1), because the acts or omissions giving rise to the forfeiture

occurred in this district and./or pursuant to 28 U.S.C. 5 1395, because the

defendant property was found in the district.
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                         BASIS FOR FORFEITURE

      6.    The defendant property is subject to forfeiture pursuant to 21

U.S.C. S 881(a)(6) because   it constitutes   1) money, negotiable instruments,

securities and other things ofvalue furnished or intended to be furnished in

exchange for a controlled substance in violation ofthe Controlled Substances

Act; and./or 2) proceeds traceable to such an exchange; and/or 3) money,

negotiable instruments, and securities used or intended to be used to

facilitate a violation of the Controlled Substances Act.

                                     FACTS

      7.    Supplemental Rule G(2)(0 requires this complaint to state

sufEciently detailed facts to support a reasonable belief that the government

will be able to meet its burden of proof at trial. Such facts and circumstances

supporting the seizure and forfeiture of the defendant property are contained

in Exhibit A which is attached hereto and incorporated by reference.

                             CLAIM FOR RELIEF

      WHEREFORE, the plaintiff requests that the Court issue a warrant for

the arrest ofthe defendant property; that notice of this action be given to aII

persons who reasonably appear to be potential claimants ofinterests in the

properties; that the defendant property be forfeited and condemned to the

United States of America; that the plaintiff be awarded its costs and
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disbursements in thig action; and for such other and further relief as this

Court deems proper and just.

      The United States hereby requests that trial ofthe above entitled

matter be held in the City of Wichita, Kansas.

                                    Respectfu   lly submitted,

                                    STEPHEN R. McALLISTER
                                    United States Attorney



                                    SEANM.A. HATFIELD
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                              DECI,ARATION

      I, Andrea Harrison, am a Special Agent with the Drug Enforcement

Administration in the District of Kansas.

      I have read the contents ofthe foregoing Complaint for Forfeiture, and

the exhibit thereto, and the statements contained therein are true to the best

of my knowledge and belief.

     I declare under penalty ofperjury that the foregoing is true and correct.
      Executed on this   -!4ay   of December, 2018.




                                            SA Andrea Harrison
                                            DEA
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                                           AFFIDAVIT

       I, Andrea Harrison, a Special Agent with the Drug Enforcement Administration, being

duly swom, depose and state:

       I   .   I have been employed by the DEA for approximately sixteen and a half years. Since

becoming a Special Agent with the DEA, I have participated in numerous drug investigations,

involving the unlawful manufacture of methamphetamine, possession ofcontrolled substances

(including phencyclidine (PCP), cocaine, crack cocaine (cocaine base), marijuana,

methamphetamine, and heroin), as well as investigations of activity of monetary transactions

involving proceeds of specified unlawful activities and conspiracies associated with criminal

drug trafficking offenses, in violation of Title 21, United States Code, Section 841(aXl); Title

21, United States Code, Section 843(b), unlawful use   ofa communication device to commit      and


facilitate the commission of drug trafficking offenses; Title 21, United States Code, Section 846,

conspiracy and attempt to possess with intent to distribute and distribution ofcontrolled

substances; Title 21, United States Code, Section 848, continuing criminal enterprise; Title 21,

United States Code, Sections 952 and960, importation ofcontrolled substances; and Title 21,

United States Code, Section 963, conspiracy and attempt to import controlled substances; Title

18, United States Code, Section 1956, Iaundering   ofmonetary instruments; Title l8' United

States Code, Section 1957, engaging in monetary transactions in property derived from specified

unlawful activity, and Title 18, United States Code, Section 2, aiding and abetting. In connection

with my official DEA duties, I investigate criminal violations ofthe Controlled Substances Act.

I received specialized training in the enforcement offederal narcotics laws through the sixteen

week DEA Academy during 2002. My training and experience includes, but is not limited to (a)

the debriefing of defendants, witnesses, and informants, as well as others who have knowledge
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ofthe distribution and transportation ofcontrolled substances and ofthe laundering and

concealment ofproceeds ofdrug trafficking, (b) surveillance; and (c) analysis ofdocumentary

and physical evidence. I have also received training and participated in investigations involving

the interception of wire communications. Based on my training and experience as a DEA Agent,

I have become familiar with the manner in which narcotics tralTickers conduct their drug related

businesses, including the methods employed by narcotics dealers to import and distribute

narcotics, drug proceeds, and other aspects ofnarcotics trafficking. I have received training

relating to the investigation ofdrug and money laundering offenses and have been personally

involved in several investigations involving the unlawful possession, manufacture, and

distribution of controlled substances, including phencyclidine (a/k/a "PCP"), cocaine, cocaine

base (a.4</a "crack cocaine"), methamphetamine, marijuana, heroin and money      laundering. My

training and experience has also involved physical surveillance, execution of search warrants,

arrests   ofdrug traffickers, and the handling ofcooperating sources and other sources of

information. Through these investigations, my training, experience, and conversations with

experienced agents, other drug investigators, and law enforcement personnel. I have become

familiar with the methods employed by drug traffickers in general, including the use ofdebit

calling cards, public telephones, wireless communications technology such as paging devices

and cellular phones, counter surveillance, elaborately planned smuggling schemes tied to

legitimate businesses, and the use of false or fictitious identities and coded communications in an

attempt to avoid detections by law enforcement and circumvent drug investigations.


          2.     I have discussed the facts ofthis investigation with other law enforcement o(ficers

and agents involved in this investigation.   I have also reviewed reports and evidence obtained by

these officers and agents during the course of this investigation. The probable cause citcd in this
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affidavit is derived from the reports and evidence obtained by these officers and agents as well as

from my own involvement in the investigation. This affidavit is submined in support of a civil

forfeiture action.

         3.     On July 12, 2018, Kansas City Kansas Highway Patrol Trooper J. Ranieri,

conducted a traflic stop on a 2013 Crey Ford Mustang at S KTA MP 182. The Mustang was

following behind a silver passenger car more closely than was reasonable and prudent, and

Mustang drifted on the right lane marker. Trooper Ranieri contacted the driver, Juan Carlos

HERRERA and explained the reason for the stop. HERREA produced a Texas driver's license

and registration for the Mustang. HERRERA was the only occupant of the        vehicle.   H   ERRERA

claimed he was working construction in Kansas City, KS for about a week and was heading back

to EI   Paso, Texas because his grandma was    sick. Trooper Ranieri observed HERRERA to         be


very nervous, having shaky hands, bouncing legs and avoided eye contact

         4.      During a consent search search of the Mustang, Trooper Ranieri discovered an

unusual amount of Bondo dust in the door     jam.   Trooper Ranieri discovered that the passenger

side floor carpet had a non-factory fold   in it by the transmission hump and that the carpet was

pulled away from the transmission hump. Trooper Ranieri discovered a non-factory false

companment. Trooper Ranieri could see non-factory/aftermarket sheet metal and sheet metal

screws added to the transmission/firewall area.

         5.      Once at the Troop   N office, HERRERA said that he had his life savings in the

false compartment, but was uncertain of the exact amount. HERRERA explained to Trooper

Ranieri and TFO Rieger how to open the false compartment without damaging the vehicle.

HERRERA told them they had to remove the passenger side windshield wiper and passenger

side windshield plastic cowling. Trooper Ranieri was able           to   see the post-manufacture
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compartment trap door on the firewall area. The false compartment was the whole firewall area

and was   full ofvacuum   sealed bags     of United States currency. Trooper Ranieri and TRO Rieger

removed eleven   (l l) vacuum   sealed bags    ofUSC from the false compartment.

        6.     Technical Trooper Bryan Clark worked his certified drug detection dog on the USC

and received an indication to drug        odor. The total amount of USC   seized was approximately

$293,338.00.

        7.      Based on the information set out above, I have probable cause to believe that the

approximately $293,338.00 seized by Trooper Ranieri constitutes money or other things ofvalue

furnished or intended to be fumished in exchange for a controlled substances, or proceeds

traceable to such an exchange, or was used or intended to be used to facilitate one or mone

violations of Title 21, U.S.C. $ 841 et seq. Accordingly, the approximately $293,338.00 is

subject to forfeiture pursuant to   2l   U.S.C. $881.




                                                               Andrea Harrison
                                                               Special Agent
                                                               Drus Enforcement Administration


       Swom to and subscribed uy me this        [1C'y   of December,2018.




                                                        NOTARY
                                                        2- -Z_
